          Case 1:21-cv-02265-APM Document 323 Filed 08/30/24 Page 1 of 7




                            IN THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF COLUMBIA


    CONRAD SMITH, et al.,

                         Plaintiffs,
                                                      No. 1:21-cv-02265-APM, consolidated with
                                                      No. 1:21-cv-400-APM
                v.

    DONALD J. TRUMP, et al.,

                          Defendants.


                                       JOINT CASE STATUS REPORT

         Pursuant to the Court’s July 26, 2024 Minute Order, Plaintiffs Conrad Smith, Danny

McElroy, Byron Evans, Governor Latson, Melissa Marshall, Michael Fortune, Jason DeRoche,

and Reginald Cleveland (together, “Plaintiffs”), and Defendants Donald J. Trump For President,

Inc., Make America Great Again PAC, Enrique Tarrio, Jospeh R. Biggs, and Thomas Caldwell, 1

submit this Joint Case Status Report regarding the status of discovery since the July 24, 2024 status

conference. 2

I.       Party Discovery

         A.          Plaintiffs’ Discovery Requests

         Defendants Donald J. Trump For President, Inc. and Make America Great Again PAC (the

“Campaign Entity Defendants”) have made seven productions to Plaintiffs, with the most recent

production being made on July 25, 2024. Plaintiffs and the Campaign Entity Defendants are in



1
 Plaintiffs sent a draft of this report to all appearing Defendants. Defendants Felipe Antonio
Martinez, Derek Kinnison, Ethan Nordean, Erik Scott Warner, Alan Hostetter, Ronald Mele, Kelly
Meggs, Zachary Rehl, Dominic J. Pezzola and Stewart Rhodes did not contribute to this report.
2
 The status of discovery as of July 19, 2024 is set forth in the Joint Status Report filed on that
date. ECF No. 305.
        Case 1:21-cv-02265-APM Document 323 Filed 08/30/24 Page 2 of 7




ongoing discussions about additional custodians and terms to be applied for additional productions.

The parties do not need the Court’s guidance at this time.

       B.      Defendants’ Discovery Requests

       Plaintiffs have made six productions of documents to Defendants, on August 1, 2023, Sep-

tember 21, 2023, October 19, 2023, December 4, 2023, February 26, 2024, and July 3, 2024. Plain-

tiffs reached substantial completion on July 3, 2024. Plaintiffs responded to the Campaign Entity

Defendants’ Second Set of Interrogatories on August 8, 2024.

       C.      Immunity-Related Discovery

       Plaintiffs are coordinating with the consolidated Plaintiffs’ group in Lee, et al. v. Trump,

1:21-cv-400-APM, to conduct immunity-related discovery. Plaintiffs are coordinating with the

consolidated Plaintiffs’ group and Defendant Trump to take a limited number of depositions in

September.

       D.      Plaintiffs’ Third-Party Discovery Requests

       Plaintiffs have received productions from third-parties Women for America First, Kylie

and Amy Kremer, Jason Miller, Mark Meadows, Cassidy Hutchinson, Ivanka Trump, Jared Kush-

ner, Michael Lindell, Donald J. Trump, Jr., Eric Trump, Lara Trump, Kimberly Guilfoyle, Chris-

tina Bobb, Jim Jordan, Kevin McCarthy, Kayleigh McEnany, Bill Stepien, Save America PAC,

the Department of Defense, the Department of Homeland Security, Katrina Pierson, Tim Mur-

taugh, and Justin Clark.

       Plaintiffs served Rudolph Giuliani with a subpoena on April 26, 2024 at his residence in

New York, New York, but have yet to receive any response from him. At the July 24 status con-

ference, Plaintiffs sought leave from this Court to file a motion to compel Mr. Giuliani to comply

with the subpoena. This Court granted leave and Plaintiffs filed a letter motion for a pre-motion

conference in the Southern District of New York, pursuant to local rules. See Smith, et al. v.

                                                2
         Case 1:21-cv-02265-APM Document 323 Filed 08/30/24 Page 3 of 7




Giuliani, 1:24-mc-00351 (S.D.N.Y.), ECF No. 1. Plaintiffs appeared for a pre-motion conference

in the Southern District of New York on August 20, 2024 requesting leave of the court to file the

motion to compel Mr. Giuliani. The court granted leave for Plaintiffs to file the motion. See id.,

ECF No. 9. Plaintiffs’ opening brief is due September 10; Mr. Giuliani’s reply brief is due October

1; and Plaintiff’s reply is due October 8. See id., August 20, 2024 Minute Entry.

       Plaintiffs served Caroline Wren with a subpoena on May 21, 2024 at her residence in Lake

Clarke Shores, Florida, but have yet to receive any response from her. Plaintiffs contacted three

attorneys who have represented Ms. Wren in other matters asking if they represent her in this

matter. One indicated he did not represent Ms. Wren in this matter, and the two other attorneys

failed to respond. Plaintiffs also attempted to contact Ms. Wren personally via email and certified

mail but have received no response. Accordingly, Plaintiffs request leave from the Court to file a

motion to compel Ms. Wren’s compliance with the subpoena in the Southern District of Florida.

       Plaintiffs sent a Touhy request with a subpoena to the National Archives and Records Ad-

ministration (“NARA”) on April 12, 2024. The Department of Justice responded on April 26, ad-

vising Plaintiffs to submit a special request for records under 44 U.S.C. § 2205(2)(a), the Presi-

dential Records Act, which provides that presidential records may be made available “pursuant to

subpoena or other judicial process issued by a court of competent jurisdiction for the purposes of

any civil or criminal investigation or proceeding.” In its letter, the Department of Justice stated

that NARA may release presidential records if it receives a final court order directing it to do so.

At the July 24 status conference, the Court granted leave for Plaintiffs to file a motion for a court

order to direct NARA to release these records. Plaintiffs filed this motion on August 30, 2024.

Defendant Trump consented to this motion.




                                                 3
          Case 1:21-cv-02265-APM Document 323 Filed 08/30/24 Page 4 of 7




II.      Deposition Planning

         Plaintiffs are coordinating deposition logistics with the plaintiffs in District of Columbia v.

Proud Boys International, LLC, et al. Plaintiffs will also work to coordinate logistics with Defend-

ants.

III.     Summary Judgment

         Plaintiffs and the District of Columbia filed a consolidated motion for partial summary

judgment against three groups of criminally convicted Defendants in this case and District of Co-

lumbia v. Proud Boys International, L.L.C. et al., No. 21-cv-3267-APM (D.D.C.), on July 19,

2024. See ECF No. 306. The three relevant Defendant groups filed consolidated opposition briefs

on August 21, 2024. See ECF No. 318 (Rhodes Defendants); No. 21-cv-3267, ECF No. 331 (Crowl

Defendants); No. 21-cv-3267, ECF No. 332 (Nordean Defendants). On August 26, 2024, the Court

granted Plaintiffs and the District of Columbia’ motion to extend the time to submit their consoli-

dated reply brief to September 9, 2024. See August 26, 2024 Minute Order.

IV.      Discovery Deadlines

         On August 7, 2024, the Court ordered that “[t]he discovery period in the consolidated mat-

ters shall now close on January 27, 2025.” See August 7, 2024 Minute Order. However, the Minute

Order did not address the deadlines set out in the January 16, 2024 Amended Scheduling Order.

See ECF No. 266. Plaintiffs respectfully request that the Court confirm whether the extension to

January 27, 2025 extends all deadlines in the Amended Scheduling Order by the same amount of

time. If so, Plaintiffs can file a proposed amended scheduling order for the Court to review and

enter.




                                                   4
       Case 1:21-cv-02265-APM Document 323 Filed 08/30/24 Page 5 of 7




Dated: August 30, 2024                   Respectfully submitted,

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                                     5
Case 1:21-cv-02265-APM Document 323 Filed 08/30/24 Page 6 of 7




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                               6
         Case 1:21-cv-02265-APM Document 323 Filed 08/30/24 Page 7 of 7




                                 CERTIFICATE OF SERVICE

       I certify that on August 30, 2024, I served a copy of the foregoing filing on all parties of

record by filing it with the Clerk of the Court through the CM/ECF system, which will provide

electronic notice to all attorneys of record. Plaintiffs are serving the remaining Defendants via first

class mail or other permitted means.

         Dated: August 30, 2024               By:             /s/    Joshua S. Margolin
                                                                    Joshua S. Margolin




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